  8:13-cr-00266-JFB-FG3               Doc # 30     Filed: 08/08/13       Page 1 of 1 - Page ID # 45



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:13CR266

        vs.
                                                                               ORDER
JAVIER ROCHIN-ROCHIN,

                        Defendant.


This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND THE TIME IN
WHICH TO FILE PRETRIAL MOTIONS [28]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 14-day extension. Pretrial Motions shall be filed by
August 22, 2013.


        IT IS ORDERED:


        1.      Defendant's UNOPPOSED MOTION TO EXTEND THE TIME IN WHICH TO FILE
PRETRIAL MOTIONS [28] is granted. Pretrial motions shall be filed on or before August 22, 2013.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between August 8, 2013 and August 22, 2013, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 8th day of August, 2013.

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
